Case 4:20-mj-00488-BJ Document 1 Filed 07/30/20   Page 1 of 7 PageID 1




                                                  488
Case 4:20-mj-00488-BJ Document 1 Filed 07/30/20   Page 2 of 7 PageID 2
Case 4:20-mj-00488-BJ Document 1 Filed 07/30/20   Page 3 of 7 PageID 3
Case 4:20-mj-00488-BJ Document 1 Filed 07/30/20   Page 4 of 7 PageID 4
Case 4:20-mj-00488-BJ Document 1 Filed 07/30/20   Page 5 of 7 PageID 5
Case 4:20-mj-00488-BJ Document 1 Filed 07/30/20   Page 6 of 7 PageID 6
Case 4:20-mj-00488-BJ Document 1 Filed 07/30/20   Page 7 of 7 PageID 7




                    30th         July       20    3:47
